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                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA,

              Plaintiff,                     Case No. 1:18-cr-00258-EJL

       vs.

PAVEL BABICHENKO,
GENNADY BABITCHENKO,                         ORDER CONTINUING TRIAL DATE
PIOTR BABICHENKO,
TIMOFEY BABICHENKO,
KRISTINA BABICHENKO,
NATALIE BABICHENKO,
DAVID BIBIKOV,
ANNA IYERUSALIMETS,
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,

              Defendants.



      Pending before the Court is the Government’s Motion for Complex Case

Designation pursuant to 18 U.S.C. § 3161(h)(7)(ii). (Dkt. 134). The Motion is currently

unopposed by all Defendants except Defendant Gennady Babichenko who filed an

Objection to the Motion but does not object to a 90-day continuance. (Dkt. 135.) The

current trial is set to commence tomorrow, October 23, 2018, at 9:30 a.m.

      The Government represents that this case should be designated a complex case,

because: there are ten defendants, the nature of the fraudulent scheme charged and the

prosecution are complex, the indicted charges raise complex legal issues sounding in


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intellectual property violations, and the investigation has resulted in significant amounts of

discovery- some of which requires translation. (Dkt. 134.) In addition, the Government

represents that the defense will need sufficient time to translate, review, analyze, and

investigate the evidence so that it can pursue pretrial motions, retain experts if necessary,

and prepare for trial. (Id.) On October 19, 2018, counsel for the government and defense

counsel agreed to a continuance of the trial for approximately one year. (Id.)

       On October 22, 2018, the Government filed the Motion for Complex Case

Designation pursuant to 18 U.S.C. § 3161(h)(7)(ii) designating the Motion as unopposed.

(Dkt. 134). Nonetheless, later that same day, Defendant Gennady Babichenko filed his

Objection to the Motion. (Dkt. 135).

       Based on these circumstances, the Court finds the ends of justice are best served by:

(1) granting a 90-day continuance and (2) reserving a decision on the complex case

designation. The Court finds the delay associated with resolving the Motion for Complex

Case Designation pursuant to 18 U.S.C. § 3161(h)(7)(ii) (Dkt. 134) is excludable time

pursuant to 18 U.S.C. §3161(h)(1)(D).

       Moreover, at this stage in the proceedings, the Court further finds: (1) pursuant to

18 U.S.C. ' 3161(h)(7)(A), that the ends of justice served by granting the 90-day

continuance outweigh the best interest of the public and the defendants in a speedy trial;

(2) pursuant to 18 U.S.C. § 3161(h)(7)(B)(i), that the failure to grant this continuance

would make a continuation of these proceedings impossible and result in a miscarriage of

justice; and (3) pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) the failure to grant such a

continuance would unreasonably deny counsel for the defense and the Government the

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reasonable time necessary for effective preparation, taking into account the exercise of due

diligence.

                                           ORDER

       NOW THEREFORE IT IS HEREBY ORDERED, that the unopposed

continuance of 90 days is GRANTED. Jury Trial is hereby RESCHEDULED for

Tuesday, January 22, 2019 at 9:30 a.m. at the Federal Courthouse in Boise, Idaho. All

pre-trial motions are due forty-five days prior to trial.

       IT IS FURTHER ORDERED that any delay associated with the 90-day

continuance is EXCLUDABLE TIME pursuant to 18 U.S.C. ' 3161(h)(7)(A), 18 U.S.C.

§ 3161(h)(7)(B)(i), and 18 U.S.C. § 3161(h)(7)(B)(iv).

       IT IS FURTHER ORDERED that any Objections to the Government’s Motion

for Complex Case Designation pursuant to 18 U.S.C. § 3161(h)(7)(ii) (Dkt. 134) must be

filed on or before October 26, 2018.

       IT IS FURTHER ORDERED that the delay between the filing and disposition of

the Government’s Motion for Complex Case Designation pursuant to 18 U.S.C.

§ 3161(h)(7)(ii) (Dkt. 134) is also EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. ' 3161(h)(1)(D).

                                                   DATED: October 22, 2018


                                                   _________________________
                                                   Edward J. Lodge
                                                   United States District Judge




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